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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



 WILLIAM C. TOTH JR., ET. AL.                :       No. 1:22-cv-00208-JPW
                                             :
                     Plaintiffs              :
                                             :
 v.                                          :
 LEIGH M. CHAPMAN, ET. AL.                   :
                                             :
                     Defendant               :


                          DECLARATION OF ALAN HALL

      Under 28 U.S.C. § 1746, I, Alan Hall, make this declaration as follows:

      1.     I am a member of the Susquehanna County Board of Elections.

      2.     I oversee the lawful administration of all aspects of elections, including

voter registration, the voting process, and tabulation of votes.

      3.     I also certify the results of all primary and general elections in the

county to the Secretary of State.

      4.     I must ensure that elections are honestly, efficiently, and uniformly

conducted.

      5.     The Uniformed and Overseas Citizens Absentee Voting Act, 52 U.S.C. §

20302(a)(8)(A) requires that my office send ballots to overseas military members at

least 45 days before the primary election.

      6.     This year the deadline is April 2, 2022, which is a Saturday.

      7.     Under the Pennsylvania Supreme Court’s revised general election

calendar, I do not anticipate having a certified list of candidates until March 29, 2022,
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which is the deadline for the Pennsylvania Supreme Court imposed on the

Pennsylvania Commonwealth Court to resolve all objections to nomination petitions.

       8.        That means my office would have only 1 or 2 days to prepare and mail

overseas military absentee ballots to comply with federal law.

       9.        As previously stated, Susquehanna County is a small county with

limited staff.

       10.       The Pennsylvania Supreme Court’s decision places me at risk of

violating federal law thereby inflicting irreparable injury.

       11.       The Pennsylvania Supreme Court’s decision places overseas military

members at risk of disenfranchisement because they might not get their ballots

timely, thereby inflicting irreparable injury.

       12.       The Pennsylvania Supreme Court’s compression of the General Primary

Election calendar threatens my ability to fulfill those obligations arising under

federal law, thereby inflicting irreparable injury.

       13.       I declare, certify, verify, and state under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.



___________________________________
ALAN HALL


Date:______________________________
